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                                                                                         ASSET CASES

Case No.:                      16-26113-RBR                                                                                                     Trustee Name:                             Marc P. Barmat
Case Name:                     ENDLESS JEWELRY NORTH AND SOUTH AMERICA, LLC                                                                     Date Filed (f) or Converted (c):          12/02/2016 (f)
For the Period Ending:         03/31/2019                                                                                                       §341(a) Meeting Date:                     01/04/2017
                                                                                                                                                Claims Bar Date:                          05/15/2017

                                   1                                        2                         3                                 4                        5                                         6

                          Asset Description                               Petition/            Estimated Net Value                   Property               Sales/Funds             Asset Fully Administered (FA)/
                           (Scheduled and                               Unscheduled           (Value Determined by                   Abandoned              Received by            Gross Value of Remaining Assets
                      Unscheduled (u) Property)                            Value                     Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                             Less Liens, Exemptions,
                                                                                                and Other Costs)

 Ref. #
1       Accounts Receivable                                               $2,531,247.24                     $2,531,247.24                                       $58,020.88                                           FA
2       Bank of America Checking Account - Canada -                         $10,327.02                         $10,327.02                                        $7,358.51                                           FA
        #9203
3       Bank of America Checking Account - US -                             $38,089.33                          $3,762.73                                        $3,762.73                                           FA
        #1365
4       Bank of America Checking Account #1349                                   $797.80                          $427.23                                            $427.23                                         FA
5       Rent Deposit - Ivy Tower 101 Property LLC                           $45,202.09                         $45,202.09                                              $0.00                                         FA
Asset Notes:        Offset against rent.
6       Inventory                                                         $3,600,646.89                       $155,000.00                                      $155,000.00                                           FA
7       Inventory - Packing material - Boardman, OH                       $1,139,893.50                         $5,050.00                                        $5,050.00                                           FA
8       Furniture, Fixtures, Equipment                                    $1,420,013.08                        $13,237.50                                       $13,237.50                                           FA
9       Computer Equipment                                                  $19,208.60                                 $0.00                                           $0.00                                         FA
Asset Notes:        Assets sold with asset#8 at auction sale.
10      2014 Lexus IS 250 - Leased                                              Unknown                                $0.00                                           $0.00                                         FA
11      2015 Lexus NX 200T - Leased                                             Unknown                                $0.00                                           $0.00                                         FA
12      2014 Lexus GS350 - Leased                                                  $0.00                               $0.00                                           $0.00                                         FA
13      Causes of action - Endless Jewelry V. Numerous                          Unknown                                $0.00                                           $0.00                                         FA
        parties
Asset Notes:     Endless Jewelry v. Helou Family LLC
                 Endless Jewelry v. Aramis Boutique Jewelry LLC
                 Endless Jewelry v. Ryan's Jeweler's
                 Endless Jewelry v. R D Buttermore & Sons Inc
                 Endless Jewelry v. Sierra Amber Corp.
14      Prepaid Expense - Commission                                        $83,836.00                         $83,836.00                                              $0.00                                         FA
15      Sale Commission - David Ethier                                          $2,051.56                       $2,051.56                                              $0.00                                         FA
16      Domain Name - EndlessJewelry.US/US_ESD/                                 Unknown                                $0.00                                           $0.00                                         FA
17      Employee Cash Advances                                             $100,800.00                        $100,800.00                                              $0.00                                         FA
Asset Notes:     Matthew Carlozzi - $100,000
                 Mathew Corning - $200
                 Howard Clarke - $600
18      Bank of America CAD Account                               (u)            $100.00                          $100.00                                            $100.00                                         FA
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                                                                                             ASSET CASES

Case No.:                    16-26113-RBR                                                                                                                    Trustee Name:                               Marc P. Barmat
Case Name:                   ENDLESS JEWELRY NORTH AND SOUTH AMERICA, LLC                                                                                    Date Filed (f) or Converted (c):            12/02/2016 (f)
For the Period Ending:       03/31/2019                                                                                                                      §341(a) Meeting Date:                       01/04/2017
                                                                                                                                                             Claims Bar Date:                            05/15/2017

                                 1                                               2                               3                                  4                          5                                          6

                        Asset Description                                     Petition/                  Estimated Net Value                    Property                  Sales/Funds              Asset Fully Administered (FA)/
                         (Scheduled and                                     Unscheduled                 (Value Determined by                    Abandoned                 Received by             Gross Value of Remaining Assets
                    Unscheduled (u) Property)                                  Value                           Trustee,                   OA =§ 554(a) abandon.            the Estate
                                                                                                       Less Liens, Exemptions,
                                                                                                          and Other Costs)

19      CNA Insurance Refund                                       (u)                 $73.42                                 $73.42                                                $73.42                                          FA
20      MGM Resorts Refund                                         (u)                $147.16                                $147.16                                               $147.16                                          FA
21      Stipulation for Settlement - Leiden Company                (u)            $12,500.00                              $12,500.00                                          $12,500.00                                            FA
        LLC
22      Bank of America Merchant Services                          (u)            $27,856.30                              $27,856.30                                          $27,856.30                                            FA
23      First Data Canada - Merchant Services                      (u)               $6,933.30                             $6,933.30                                            $5,472.45                                           FA
24      United Healthcare Rebate Checks                            (u)               $2,145.91                             $2,145.91                                            $2,145.91                                           FA
25      Settlement - Gunster Yoakley Law Firm                      (u)               $5,000.00                             $5,000.00                                            $5,000.00                                           FA
26      Settlement - Gray Kirk Vansant Advertising                 (u)               $4,000.00                             $4,000.00                                            $4,000.00                                           FA
27      Adv. 17-01443 - Commercial Printers Inc                    (u)               $6,250.00                             $6,250.00                                            $6,250.00                                           FA
28      Preference - United Parcel Service                         (u)            $17,500.00                              $17,500.00                                          $17,500.00                                            FA
29      Stipulation for Settlement with Art Guild of               (u)               $7,500.00                             $7,500.00                                            $7,500.00                                           FA
        Philadelphia
30      D&O Policy Insurance Claim Settlement                      (u)           $750,000.00                             $750,000.00                                         $750,000.00                                            FA


TOTALS (Excluding unknown value)                                                                                                                                                                      Gross Value of Remaining Assets
                                                                               $9,832,119.20                          $3,790,947.46                                         $1,081,402.09                                     $0.00




     Major Activities affecting case closing:
      04/12/2019     TFR submitted 04/12/19.


                     Tax Returns: The parent company is responsible for filing the tax returns.
      04/19/2018     There are several matters still pending in this case. The first is the remaining scheduled assets involving the landlord's security deposit and cash advances and commissions to employees.
                     The Trustee is working with his accountant to determine whether these assets are valid and collectible. The second matter pending is a pre-suit mediation regarding a claim against the
                     Debtor's D&O policy which is set for mediation on 06/28/18 and a potential claim in the European parent company's insolvency proceeding.


                     Claims: Claims have been pulled for review.


                     Tax Returns: The estate is current with its returns.
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                                                                                             ASSET CASES

Case No.:                   16-26113-RBR                                                                                                                          Trustee Name:                                Marc P. Barmat
Case Name:                  ENDLESS JEWELRY NORTH AND SOUTH AMERICA, LLC                                                                                          Date Filed (f) or Converted (c):             12/02/2016 (f)
For the Period Ending:      03/31/2019                                                                                                                            §341(a) Meeting Date:                        01/04/2017
                                                                                                                                                                  Claims Bar Date:                             05/15/2017

                                1                                                  2                               3                                     4                          5                                           6

                       Asset Description                                       Petition/                   Estimated Net Value                      Property                   Sales/Funds               Asset Fully Administered (FA)/
                        (Scheduled and                                       Unscheduled                  (Value Determined by                      Abandoned                  Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                    Value                            Trustee,                     OA =§ 554(a) abandon.             the Estate
                                                                                                         Less Liens, Exemptions,
                                                                                                            and Other Costs)

     04/27/2017     Endless Jewelry is a complex business Chapter 7. The Debtor is an affiliate of a Dutch company that itself filed for bankruptcy (insolvency) protection in Dusseldorf, Germany. The
                    Debtor’s operations were shut down with all personnel let go prior to the filing of the bankruptcy case.


                    At the outset, the case was dismissed because the Debtor could not get schedules filed so the Trustee had to file a motion to vacate the dismissal and reinstate the case. The Trustee also
                    required authorization from the Court to prepare the bankruptcy schedules based upon the best available information the Trustee had. The schedules and statements were completed and
                    timely filed.


                    Since that time, the Trustee has undertaken to try and sell the inventory assets of the estate and has begun investigating several potential assets of the estate, including, but not limited to,
                    accounts receivable, claims against the D & O insurance policy of the Debtor, fraudulent transfer claims, as well as, claims against directors and officers.


                    In connection with the on-going investigation of the assets, the 2004 Examinations of the Matt Carlozzi, former CEO, and Avinash Tirwari, Former CFO, have been conducted and a
                    demand has been made upon the D & O Insurance Company and efforts are being made to resolve this matter pre-suit, if possible.


                    Counsel for the trustee and the trustee have engaged in several conversations with parties with payables due to Endless Jewelry. The Trustee is attempting to resolve these claims as
                    expeditiously as possible while incurring as little expense to the estate as possible.


                    The Trustee sold off the office equipment and computers at auction and moved the jewelry inventory into three (3) storage bays that are secured and insured.


                    Claims: No claims have been reviewed at this time.


                    The Trustee has hired an accountant to assist with the estate's returns.


Initial Projected Date Of Final Report (TFR):           12/31/2019                             Current Projected Date Of Final Report (TFR):                 12/31/2019                 /s/ MARC P. BARMAT
                                                                                                                                                                                        MARC P. BARMAT
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                                                                               CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          16-26113-RBR                                                                                           Trustee Name:                       Marc P. Barmat
 Case Name:                        ENDLESS JEWELRY NORTH AND SOUTH AMERICA, LLC                                                           Bank Name:                          Green Bank
Primary Taxpayer ID #:             **-***3681                                                                                             Checking Acct #:                    ******1301
Co-Debtor Taxpayer ID #:                                                                                                                  Account Title:
For Period Beginning:              12/2/2016                                                                                              Blanket bond (per case limit):      $56,290,000.00
For Period Ending:                 03/31/2019                                                                                             Separate bond (if applicable):

       1                2                                  3                                                    4                                               5                 6                7

   Transaction       Check /                           Paid to/                       Description of Transaction                           Uniform           Deposit        Disbursement         Balance
      Date            Ref. #                        Received From                                                                         Tran Code            $                 $


01/03/2017            (1)      C.T. Dickinson Jewelers                         Accounts Receivable Payment                                1121-000              $40.00                                   $40.00
                                                                               Reference# 146110 - 146471
01/03/2017            (1)      Roberts Jewelry Company Inc                     Accounts Receivable Payment                                1121-000              $87.00                                  $127.00
                                                                               *See check stub for breakdown*
01/03/2017            (1)      The Jewelers Board of Trade                     Accounts Receivable Payment                                1121-000             $442.00                                  $569.00
                                                                               B&C Jewelers
01/03/2017            (1)      Parkhill Jewelry                                Accounts Receivable Payment                                1121-000             $127.00                                  $696.00


                                                                               02/14/17 - Check returned Stop Payment.
01/03/2017            (1)      CDI Diamonds & Jewelry                          Accounts Receivable Payment                                1121-000             $500.00                                 $1,196.00
01/03/2017            (1)      Adir International LLC                          Accounts Receivable Payment                                1121-000           $3,756.99                                 $4,952.99
                                                                               *See check stub for breakdown*
01/03/2017            (1)      Gem Jewelry                                     Accounts Receivable Payment                                1121-000             $774.00                                 $5,726.99
01/03/2017            (1)      Chester Springs Retail Ent. d/b/a Exton Place   Accounts Receivable Payment                                1121-000              $65.00                                 $5,791.99
01/03/2017            (1)      Lawrence Anthony Fine Jewelers                  Accounts Receivable Payment                                1121-000             $500.00                                 $6,291.99
01/03/2017            (1)      Endless Jewelry/PNC Bank Cashier's Check        Accounts Receivable Payment                                1121-000              $75.00                                 $6,366.99
01/17/2017            (2)      Bank of America                                 Balance in bank account                                    1129-000           $9,696.28                             $16,063.27


                                                                               02/14/17 - Checked debited from account by bank due to
                                                                               being paid in Canadian funds.
01/17/2017            (3)      Bank of America                                 Balance in bank account                                    1129-000           $2,363.44                             $18,426.71
01/31/2017                     Green Bank                                      Bank Service Fee                                           2600-000                                      $11.78     $18,414.93
02/01/2017            (1)      Adir International LLC                          Accounts Receivable Payment                                1121-000           $6,602.40                             $25,017.33
02/01/2017            (1)      The Jewelers Board of Trade                     Accounts Receivable Payment                                1121-000           $1,807.38                             $26,824.71
02/14/2017            (2)      DEP REVERSE: Bank of America                    Balance in bank account                                    1129-000           ($9,696.28)                           $17,128.43


                                                                               02/14/17 - Checked debited from account by bank due to
                                                                               being paid in Canadian funds.




                                                                                                                                         SUBTOTALS            $7,443.93                 $11.78
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                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          16-26113-RBR                                                                                       Trustee Name:                        Marc P. Barmat
 Case Name:                        ENDLESS JEWELRY NORTH AND SOUTH AMERICA, LLC                                                       Bank Name:                           Green Bank
Primary Taxpayer ID #:             **-***3681                                                                                         Checking Acct #:                     ******1301
Co-Debtor Taxpayer ID #:                                                                                                              Account Title:
For Period Beginning:              12/2/2016                                                                                          Blanket bond (per case limit):       $56,290,000.00
For Period Ending:                 03/31/2019                                                                                         Separate bond (if applicable):

       1                2                                 3                                               4                                                 5                  6                 7

   Transaction       Check /                           Paid to/                Description of Transaction                              Uniform           Deposit         Disbursement          Balance
      Date            Ref. #                        Received From                                                                     Tran Code            $                  $


02/14/2017            (1)      DEP REVERSE: Parkhill Jewelry           Accounts Receivable Payment                                    1121-000            ($127.00)                              $17,001.43


                                                                       02/14/17 - Check returned Stop Payment.
02/15/2017            (1)      The Open Armoire                        Accounts Receivable Payment                                    1121-000              $59.00                               $17,060.43
02/15/2017            (1)      Bremer C & R Jewelry Inc                Accounts Receivable Payment                                    1121-000                  $6.00                            $17,066.43
02/28/2017                     Green Bank                              Bank Service Fee                                               2600-000                                        $32.27     $17,034.16
03/07/2017            (2)      Bank of America                         Provisional credit given by bank while Canadian item is        1129-000           $9,696.28                               $26,730.44
                                                                       processed; exchange difference will be debited once
                                                                       received.
                                                                       Credit given 02/14/17.
03/07/2017            (2)      Bank of America                         Bank debited account on 02/28/17 for difference in             1129-000           ($2,337.77)                             $24,392.67
                                                                       currency conversion of Canadian item.
03/07/2017            101      iStorage Boynton Beach                  Initial deposit on first month's rent of storage units for     2420-000                                       $695.00     $23,697.67
                                                                       Debtor's jewelry inventory pursuant to Court Order
                                                                       entered 02/21/17 ECF#67.
03/10/2017            102      Trustee Insurance Agency                Payment of invoice# 1376 - Insurance premium -                 2420-750                                     $1,050.00     $22,647.67
                                                                       pursuant to Court Order entered 02/21/17 ECF#67
03/10/2017            103      EJ Fulfillment LLC                      Payment of February and March Rent on invoices 1021            2410-000                                     $5,066.66     $17,581.01
                                                                       and 1022 pursuant to Court Order entered 02/21/17
                                                                       ECF#67
03/13/2017            (1)      The Jewelers Board of Trade             Accounts Receivable Payment                                    1121-000           $1,807.38                               $19,388.39
03/17/2017            (1)      Diamond Cutters of Western New York     Accounts Receivable Payment                                    1121-000           $2,126.36                               $21,514.75
03/17/2017            (3)      Bank of America/Endless Jewelry         Final balance in bank account.                                 1129-000           $1,399.29                               $22,914.04
03/17/2017            (4)      Bank of America/Endless Jewelry         Final balance in bank account.                                 1129-000             $427.23                               $23,341.27
03/17/2017            104      Millennium Relocation Services          Payment of invoice dated 03/13/17 - invoice#                   2420-000                                 $10,025.00        $13,316.27
                                                                       EJBOL5799 pursuant to Court Order entered 02/21/17
                                                                       ECF#67 - packed, loaded and delivered inventory to
                                                                       storage units from Debtor location.




                                                                                                                                     SUBTOTALS           $13,056.77            $26,893.93
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                                                                         CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          16-26113-RBR                                                                                     Trustee Name:                       Marc P. Barmat
 Case Name:                        ENDLESS JEWELRY NORTH AND SOUTH AMERICA, LLC                                                     Bank Name:                          Green Bank
Primary Taxpayer ID #:             **-***3681                                                                                       Checking Acct #:                    ******1301
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:
For Period Beginning:              12/2/2016                                                                                        Blanket bond (per case limit):      $56,290,000.00
For Period Ending:                 03/31/2019                                                                                       Separate bond (if applicable):

       1                2                                  3                                             4                                                5                 6                 7

   Transaction       Check /                           Paid to/                 Description of Transaction                           Uniform           Deposit        Disbursement          Balance
      Date            Ref. #                        Received From                                                                   Tran Code            $                 $


03/24/2017            105      Paychek Inc                              Payment pursuant to Court Order entered 02/21/17            2690-000                                      $765.00     $12,551.27
                                                                        ECF#67; client# 40-17073498; processing of amended
                                                                        payroll returns and W2s.
03/30/2017            (1)      Enderby Jewelers 1991 Ltd                Accounts Receivable Payment - CANADIAN ITEM                 1121-000            $2,496.00                             $15,047.27
03/30/2017            (18)     Bank of America                          Closeout of CAD account - CANADIAN ITEM                     1229-000             $100.00                              $15,147.27
03/31/2017                     Green Bank                               Bank Service Fee                                            2600-000                                       $39.40     $15,107.87
04/05/2017            106      iStorage Boynton Beach                   Pursuant to Court Order entered 02/21/17 ECF#67 -           2420-000                                      $937.32     $14,170.55
                                                                        payment of monthly storage unites for April 2017, Units
                                                                        K913, K914, K915
04/05/2017            107      EJ Fulfillment LLC                       Pursuant to Court Order entered 02/21/17 ECF#67 -           2410-000                                    $2,533.33     $11,637.22
                                                                        payment of April invoice# 1023 - storage unit.
04/10/2017            (1)      Triple Key LLC                           Accounts Receivable Payment                                 1121-000             $506.28                              $12,143.50
04/10/2017            (1)      Albert's Jewelers                        Accounts Receivable Payment                                 1121-000              $37.00                              $12,180.50
04/10/2017            (8)      National Auction Company                 Proceeds from sale of assets at auction pursuant to         1129-000           $13,237.50                             $25,418.00
                                                                        Report of Auction filed 04/10/17 ECF#85
04/10/2017            (19)     CNA Insurance                            Refund on account# 3026588293                               1229-000              $73.42                              $25,491.42
04/20/2017            (1)      Enderby Jewelers 1991 Ltd/Green Bank     Accounts Receivable Payment - CANADIAN ITEM -               1121-000            ($666.91)                             $24,824.51
                                                                        Exchange rate fee per Federal Reserve
04/20/2017            108      National Auction Company                 Payment of expenses pursuant to Court Order entered         3620-000                                    $4,222.91     $20,601.60
                                                                        03/27/17 ECF#82.
04/25/2017            109      iStorage Boynton Beach                   Pursuant to Court Order entered 02/21/17 ECF#67 -           2420-000                                      $937.32     $19,664.28
                                                                        payment of monthly storage unites for April 2017, Units
                                                                        K913, K914, K915
04/28/2017                     Green Bank                               Bank Service Fee                                            2600-000                                       $31.61     $19,632.67
05/10/2017            (1)      Darakjian                                Accounts Receivable Payment                                 1121-000            $2,000.00                             $21,632.67
05/10/2017            110      Trustee Insurance Agency                 Payment of invoice# 1421 - Insurance premium -              2420-750                                    $1,050.00     $20,582.67
                                                                        pursuant to Court Order entered 02/21/17 ECF#67
05/10/2017            111      EJ Fulfillment LLC                       Pursuant to Court Order entered 02/21/17 ECF#67 -           2410-000                                    $2,533.33     $18,049.34
                                                                        payment of May invoice# 1024 - storage unit.


                                                                                                                                   SUBTOTALS           $17,783.29           $15,583.55
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                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          16-26113-RBR                                                                                   Trustee Name:                       Marc P. Barmat
 Case Name:                        ENDLESS JEWELRY NORTH AND SOUTH AMERICA, LLC                                                   Bank Name:                          Green Bank
Primary Taxpayer ID #:             **-***3681                                                                                     Checking Acct #:                    ******1301
Co-Debtor Taxpayer ID #:                                                                                                          Account Title:
For Period Beginning:              12/2/2016                                                                                      Blanket bond (per case limit):      $56,290,000.00
For Period Ending:                 03/31/2019                                                                                     Separate bond (if applicable):

       1                2                                 3                                            4                                                5                 6                 7

   Transaction       Check /                           Paid to/               Description of Transaction                           Uniform           Deposit        Disbursement          Balance
      Date            Ref. #                        Received From                                                                 Tran Code            $                 $


05/25/2017            112      iStorage Boynton Beach                  Pursuant to Court Order entered 02/21/17 ECF#67 -          2420-000                                      $937.32     $17,112.02
                                                                       payment of monthly storage unites for June 2017, Units
                                                                       K913, K914, K915
05/31/2017                     Green Bank                              Bank Service Fee                                           2600-000                                       $31.07     $17,080.95
06/23/2017            113      Trustee Insurance Agency                Payment of invoice# 1505 - Insurance premium -             2420-750                                    $1,050.00     $16,030.95
                                                                       pursuant to Court Order entered 02/21/17 ECF#67
06/23/2017            114      EJ Fulfillment LLC                      Pursuant to Court Order entered 02/21/17 ECF#67 -          2410-000                                    $2,533.33     $13,497.62
                                                                       payment of June invoice# 1025 - storage unit.
06/23/2017            115      iStorage Boynton Beach                  Pursuant to Court Order entered 02/21/17 ECF#67 -          2420-000                                      $937.32     $12,560.30
                                                                       payment of monthly storage unites for July 2017, Units
                                                                       K913, K914, K915
06/30/2017                     Green Bank                              Bank Service Fee                                           2600-000                                       $28.20     $12,532.10
07/20/2017            (1)      JNR Adjustment Company Inc              Purchase of Accounts Receivable pursuant to Court          1121-000           $35,000.00                             $47,532.10
                                                                       Order entered 06/29/17 ECF#97; Report of Sale 07/20/17
                                                                       ECF#102.
07/20/2017            116      iStorage Boynton Beach                  Pursuant to Court Order entered 02/21/17 ECF#67 -          2420-000                                      $937.32     $46,594.78
                                                                       payment of monthly storage unites for August 2017,
                                                                       Units K913, K914, K915
07/31/2017                     Green Bank                              Bank Service Fee                                           2600-000                                       $40.91     $46,553.87
08/01/2017            117      EJ Fulfillment LLC                      Pursuant to Court Order entered 02/21/17 ECF#67 -          2410-000                                    $5,066.66     $41,487.21
                                                                       payment of July invoice# 1026 and August invoice# 1027
                                                                       - storage unit.
08/10/2017            (20)     MGM Resorts                             Refund from Promotional Event                              1229-000             $147.16                              $41,634.37
08/30/2017            118      iStorage Boynton Beach                  Pursuant to Court Order entered 02/21/17 ECF#67 -          2420-000                                      $937.32     $40,697.05
                                                                       payment of monthly storage unites for September 2017,
                                                                       Units K913, K914, K915
08/30/2017            119      Trustee Insurance Agency                Payment of invoice# 1577 - Insurance premium -             2420-750                                    $1,050.00     $39,647.05
                                                                       pursuant to Court Order entered 02/21/17 ECF#67
08/31/2017                     Green Bank                              Bank Service Fee                                           2600-000                                       $72.39     $39,574.66



                                                                                                                                 SUBTOTALS           $35,147.16           $13,694.23
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                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          16-26113-RBR                                                                                             Trustee Name:                        Marc P. Barmat
 Case Name:                        ENDLESS JEWELRY NORTH AND SOUTH AMERICA, LLC                                                             Bank Name:                           Green Bank
Primary Taxpayer ID #:             **-***3681                                                                                               Checking Acct #:                     ******1301
Co-Debtor Taxpayer ID #:                                                                                                                    Account Title:
For Period Beginning:              12/2/2016                                                                                                Blanket bond (per case limit):       $56,290,000.00
For Period Ending:                 03/31/2019                                                                                               Separate bond (if applicable):

       1                2                                 3                                           4                                                           5                  6                 7

   Transaction       Check /                            Paid to/              Description of Transaction                                     Uniform           Deposit         Disbursement          Balance
      Date            Ref. #                         Received From                                                                          Tran Code            $                  $


09/26/2017            (6)      Jewelry World.com LLC                   Deposit on purchase of inventory; Order approving sale               1129-000           $10,000.00                              $49,574.66
                                                                       of property entered 10/17/17 ECF#127.
09/26/2017            120      EJ Fulfillment LLC                      Pursuant to Court Order entered 02/21/17 ECF#67 -                    2410-000                                     $2,533.33     $47,041.33
                                                                       payment of September invoice# 1028 - storage unit.
09/26/2017            121      iStorage Boynton Beach                  Pursuant to Court Order entered 02/21/17 ECF#67 -                    2420-000                                       $937.32     $46,104.01
                                                                       payment of monthly storage unites for October 2017,
                                                                       Units K913, K914, K915
09/29/2017                     Green Bank                              Bank Service Fee                                                     2600-000                                        $67.56     $46,036.45
10/16/2017            (21)     Leiden Cabinet Company                  Payment pursuant to Court Order entered 10/26/17                     1241-000           $12,500.00                              $58,536.45
                                                                       ECF#131
10/16/2017            (22)     Bank of America Merchant Services       Reserves held for Visa/MC Charge Card Transactions -                 1229-000           $27,856.30                              $86,392.75
                                                                       Account Closed
10/16/2017            (23)     First Data Canada Ltd.                  Reserves held for Visa/MC Charge Cards - Account                     1229-000            $6,933.30                              $93,326.05
                                                                       Closed
10/17/2017            (24)     United Healthcare Insurance Company     Premium rebate check - policy# 04U4040                               1229-000            $2,065.87                              $95,391.92
10/17/2017            (24)     Neighborhood Health Partnership         Premium rebate check - policy# B23488P001                            1229-000                  $2.11                            $95,394.03
10/17/2017            (24)     United Healthcare Insurance Co.         Premium rebate check - policy# 00W6885                               1229-000               $77.93                              $95,471.96
10/23/2017                     Jewelry World Com LLC                   Order approving sale of property entered 10/17/17                        *              $65,050.00                             $160,521.96
                                                                       ECF#127.
                      {7}                                                                                                     $5,050.00     1129-000                                                  $160,521.96
                      {6}                                                                                                    $60,000.00     1129-000                                                  $160,521.96
10/23/2017            (6)      Jewelry World Com LLC                   Order approving sale of property entered 10/17/17                    1129-000           $74,000.00                             $234,521.96
                                                                       ECF#127.
10/23/2017            (6)      Cynthia Aristizabal                     Order approving sale of property entered 10/17/17                    1129-000           $11,000.00                             $245,521.96
                                                                       ECF#127.
10/31/2017                     Green Bank                              Bank Service Fee                                                     2600-000                                       $184.07    $245,337.89
11/15/2017            (23)     First Data Canada Ltd.                  Reserves held for Visa/MC Charge Cards - Account                     1229-000           ($1,460.85)                            $243,877.04
                                                                       Closed; bank debit by bank for conversion from Canadian
                                                                       to US.



                                                                                                                                           SUBTOTALS           $206,563.81               $3,722.28
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                                                                         CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          16-26113-RBR                                                                                               Trustee Name:                       Marc P. Barmat
 Case Name:                        ENDLESS JEWELRY NORTH AND SOUTH AMERICA, LLC                                                               Bank Name:                          Green Bank
Primary Taxpayer ID #:             **-***3681                                                                                                 Checking Acct #:                    ******1301
Co-Debtor Taxpayer ID #:                                                                                                                      Account Title:
For Period Beginning:              12/2/2016                                                                                                  Blanket bond (per case limit):      $56,290,000.00
For Period Ending:                 03/31/2019                                                                                                 Separate bond (if applicable):

       1                2                                  3                                            4                                                           5                 6                 7

   Transaction       Check /                           Paid to/                 Description of Transaction                                     Uniform           Deposit        Disbursement          Balance
      Date            Ref. #                        Received From                                                                             Tran Code            $                 $


11/15/2017            122      EJ Fulfillment LLC                       Final payment of storage of inventory recently sold -                  2410-000                                   $2,533.33    $241,343.71
                                                                        invoice# 1029 dated 09/30/17; Court Order 02/21/17
                                                                        ECF#67
11/16/2017            123      Trustee Insurance Agency                 Payment of final insurance bill - Invoice# 1631 - pursuant             2420-750                                     $900.00    $240,443.71
                                                                        to Court Order entered 02/21/17 ECF#67
11/21/2017            (25)     Gunster Law Firm                         Motion to Approve Stipulation to Compromise                            1241-000           $5,000.00                            $245,443.71
                                                                        Controversy filed 10/30/17 ECF# 133; Order entered
                                                                        11/29/17 ECF#138
11/30/2017                     Green Bank                               Bank Service Fee                                                       2600-000                                     $383.01    $245,060.70
12/04/2017            (26)     Gray Kirk Vansant Advertising            Payment pursuant to Court Order entered 10/26/17                       1241-000           $4,000.00                            $249,060.70
                                                                        ECF#130
12/29/2017                     Green Bank                               Bank Service Fee                                                       2600-000                                     $401.28    $248,659.42
01/17/2018            124      Furr and Cohen, PA                       Interim fees and costs pursuant to Court Order entered                    *                                   $76,555.79       $172,103.63
                                                                        01/17/18 ECF#143
                                                                                                                            $(69,472.00)       3110-000                                                $172,103.63
                                                                                                                                $(7,083.79)    3120-000                                                $172,103.63
01/31/2018                     Green Bank                               Bank Service Fee                                                       2600-000                                     $345.47    $171,758.16
02/28/2018                     Green Bank                               Bank Service Fee                                                       2600-000                                     $250.34    $171,507.82
03/06/2018            (27)     Commercial Printers Inc                  Payment pursuant to Court Order entered 02/14/18                       1241-000           $6,250.00                            $177,757.82
                                                                        ECF#147
03/06/2018            (28)     United Parcel Service                    Payment pursunat to Court Order entered 03/29/18                       1241-000          $17,500.00                            $195,257.82
                                                                        ECF#161
03/30/2018                     Green Bank                               Bank Service Fee                                                       2600-000                                     $317.83    $194,939.99
04/30/2018                     Green Bank                               Bank Service Fee                                                       2600-000                                     $294.27    $194,645.72
05/31/2018                     Green Bank                               Bank Service Fee                                                       2600-000                                     $314.09    $194,331.63
06/29/2018                     Green Bank                               Bank Service Fee                                                       2600-000                                     $313.59    $194,018.04
07/10/2018            (29)     Art Guild of Philadelphia                Payment pursuant to Court Order entered 05/25/18                       1241-000           $7,500.00                            $201,518.04
                                                                        ECF#175
07/31/2018                     Green Bank                               Bank Service Fee                                                       2600-000                                     $311.57    $201,206.47
08/31/2018                     Green Bank                               Bank Service Fee                                                       2600-000                                     $356.10    $200,850.37
                                                                                                                                              SUBTOTALS          $40,250.00           $83,632.77
                                                              Case 16-26113-SMG          Doc 226
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                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          16-26113-RBR                                                                                             Trustee Name:                       Marc P. Barmat
 Case Name:                        ENDLESS JEWELRY NORTH AND SOUTH AMERICA, LLC                                                             Bank Name:                          Green Bank
Primary Taxpayer ID #:             **-***3681                                                                                               Checking Acct #:                    ******1301
Co-Debtor Taxpayer ID #:                                                                                                                    Account Title:
For Period Beginning:              12/2/2016                                                                                                Blanket bond (per case limit):      $56,290,000.00
For Period Ending:                 03/31/2019                                                                                               Separate bond (if applicable):

       1                2                                 3                                            4                                                          5                 6              7

   Transaction       Check /                           Paid to/                Description of Transaction                                    Uniform           Deposit        Disbursement       Balance
      Date            Ref. #                        Received From                                                                           Tran Code            $                 $


10/03/2018            125      Internal Revenue Service                 Payment pursuant to Court Order entered 09/27/18                     5800-000                               $19,812.84    $181,037.53
                                                                        ECF#204
10/11/2018            126      Alan R Barbee                            Payment of fees and costs pursuant to Court Order                       *                                  $147,059.36     $33,978.17
                                                                        entered 10/11/18 ECF#206
                                                                                                                            $(146,000.00)    3410-000                                              $33,978.17
                                                                                                                              $(1,059.36)    3420-000                                              $33,978.17
11/21/2018            (30)     Chubb Insurance Company                  Payment pursuant to Court Order entered 10/23/18                     1249-000        $750,000.00                          $783,978.17
                                                                        [ECF#209]
11/27/2018            127      Cimo Mazer Mark PLLC                     Contingency fee pursuant to Court Order entered                      3210-000                              $101,637.00    $682,341.17
                                                                        10/23/18 [ECF#209] and Court Order entered 11/07/18
                                                                        [ECF#211].
11/27/2018            128      Genovese Joblove & Battista, PA          Contingency fee pursuant to Court Order entered                      3210-000                              $168,698.00    $513,643.17
                                                                        10/23/18 [ECF#209] and Court Order entered 11/07/18
                                                                        [ECF#211].
11/27/2018            129      Furr and Cohen, PA                       Contingency fee pursuant to Court Order entered                      3110-000                               $29,665.00    $483,978.17
                                                                        10/23/18 [ECF#209] and Court Order entered 11/07/18
                                                                        [ECF#211].




                                                                                                                                            SUBTOTALS          $750,000.00         $466,872.20
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                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          16-26113-RBR                                                                                        Trustee Name:                         Marc P. Barmat
Case Name:                        ENDLESS JEWELRY NORTH AND SOUTH AMERICA, LLC                                                        Bank Name:                            Green Bank
Primary Taxpayer ID #:            **-***3681                                                                                          Checking Acct #:                      ******1301
Co-Debtor Taxpayer ID #:                                                                                                              Account Title:
For Period Beginning:             12/2/2016                                                                                           Blanket bond (per case limit):        $56,290,000.00
For Period Ending:                03/31/2019                                                                                          Separate bond (if applicable):

      1                 2                                3                                             4                                                    5                   6              7

  Transaction        Check /                         Paid to/                  Description of Transaction                              Uniform           Deposit          Disbursement       Balance
     Date             Ref. #                      Received From                                                                       Tran Code            $                   $


                                                                                         TOTALS:                                                       $1,081,402.09           $597,423.92    $483,978.17
                                                                                             Less: Bank transfers/CDs                                          $0.00                 $0.00
                                                                                         Subtotal                                                      $1,081,402.09           $597,423.92
                                                                                             Less: Payments to debtors                                         $0.00                 $0.00
                                                                                         Net                                                           $1,081,402.09           $597,423.92



                     For the period of 12/2/2016 to 03/31/2019                                                     For the entire history of the account between 01/03/2017 to 03/31/2019

                     Total Compensable Receipts:                      $1,081,402.09                                Total Compensable Receipts:                             $1,081,402.09
                     Total Non-Compensable Receipts:                          $0.00                                Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                    $1,081,402.09                                Total Comp/Non Comp Receipts:                           $1,081,402.09
                     Total Internal/Transfer Receipts:                        $0.00                                Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                  $597,423.92                                 Total Compensable Disbursements:                          $597,423.92
                     Total Non-Compensable Disbursements:                    $0.00                                 Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                $597,423.92                                 Total Comp/Non Comp Disbursements:                        $597,423.92
                     Total Internal/Transfer Disbursements:                  $0.00                                 Total Internal/Transfer Disbursements:                          $0.00
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                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          16-26113-RBR                                                                                Trustee Name:                         Marc P. Barmat
Case Name:                        ENDLESS JEWELRY NORTH AND SOUTH AMERICA, LLC                                                Bank Name:                            Green Bank
Primary Taxpayer ID #:            **-***3681                                                                                  Checking Acct #:                     ******1301
Co-Debtor Taxpayer ID #:                                                                                                      Account Title:
For Period Beginning:             12/2/2016                                                                                   Blanket bond (per case limit):        $56,290,000.00
For Period Ending:                03/31/2019                                                                                  Separate bond (if applicable):

      1                 2                                3                                            4                                              5                  6              7

  Transaction        Check /                         Paid to/                 Description of Transaction                       Uniform            Deposit         Disbursement       Balance
     Date             Ref. #                      Received From                                                               Tran Code             $                  $




                                                                                                                                                                            NET        ACCOUNT
                                                                                        TOTAL - ALL ACCOUNTS                           NET DEPOSITS                    DISBURSE       BALANCES

                                                                                                                                               $1,081,402.09         $597,423.92      $483,978.17




                     For the period of 12/2/2016 to 03/31/2019                                             For the entire history of the case between 12/02/2016 to 03/31/2019

                     Total Compensable Receipts:                      $1,081,402.09                        Total Compensable Receipts:                             $1,081,402.09
                     Total Non-Compensable Receipts:                          $0.00                        Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                    $1,081,402.09                        Total Comp/Non Comp Receipts:                           $1,081,402.09
                     Total Internal/Transfer Receipts:                        $0.00                        Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                  $597,423.92                         Total Compensable Disbursements:                          $597,423.92
                     Total Non-Compensable Disbursements:                    $0.00                         Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                $597,423.92                         Total Comp/Non Comp Disbursements:                        $597,423.92
                     Total Internal/Transfer Disbursements:                  $0.00                         Total Internal/Transfer Disbursements:                          $0.00




                                                                                                                           /s/ MARC P. BARMAT
                                                                                                                           MARC P. BARMAT
